        Case: 22-60596      Document: 156       Page: 1           Date Filed: 07/29/2024




                                                U.S. Department of Justice

                                                United States Attorney
                                                Southern District of Mississippi


                                                1575 Twentieth Avenue         Telephone: (228) 563-1560
                                                Gulfport, Mississippi 39501


VIA ELECTRONIC CASE FILING                      July 29, 2024

Lyle W. Cayce, Clerk
United States Court of Appeals
  for the Fifth Circuit
600 S. Maestri Place
New Orleans, LA 70130

        Re: United States v. Daniels, No. 22-60596: Supplemental Letter Brief

Dear Mr. Cayce:

       The Government respectfully submits this Supplemental Letter Brief to address
the applicability of United States v. Rahimi, 144 S.Ct. 1889 (2024), to this appeal. In
Rahimi, the Supreme Court clarified the methodology for assessing whether a modern
regulation is consistent with the history that underpins the Second Amendment. Rahimi
supports the Government’s position that 18 U.S.C. § 922(g)(3) is constitutional as applied
to Daniels.

       This Court’s contrary panel decision rests on some of the methodological
shortcomings that the Supreme Court identified in Rahimi. Applying Rahimi on remand,
this Court should hold that history and tradition support the Government’s authority to
prohibit firearm possession by individuals whose gun possession presents an inherent risk
of danger to themselves and others. Section 922(g)(3)’s temporary disarmament of
unlawful drug users falls squarely within that tradition.

1.    Rahimi Clarified Bruen’s Analytical Framework and Reiterated that the
      Second Amendment Does Not Demand a Historical Twin

       In Rahimi, the Supreme Court held that 18 U.S.C. § 922(g)(8), which prohibits
firearm possession by an individual subject to a domestic violence restraining order, does
not violate the Second Amendment on its face or as applied to the defendant in that case.

                                            1
        Case: 22-60596       Document: 156       Page: 2    Date Filed: 07/29/2024




“Since the founding,” the Court explained, “our Nation’s firearm laws have included
provisions preventing individuals who threaten physical harm to others from misusing
firearms”—provisions that include surety laws, which authorized magistrates to “require
individuals suspected of future misbehavior to post a bond,” and going armed laws,
which “provided a mechanism for punishing those who had menaced others with
firearms.” 144 S.Ct. at 1896, 1899-1901. “Taken together,” those “laws confirm what
common sense suggests”: that “[w]hen an individual poses a clear threat of physical
violence to another, the threatening individual may be disarmed.” Id. at 1901.

        In reaching that conclusion, the Court emphasized that “some courts have
misunderstood the methodology of [the Court’s] recent Second Amendment cases.” 144
S.Ct. at 1897. Those cases “were not meant to suggest a law trapped in amber,” because
the Second Amendment “permits more than just those regulations identical to ones that
could be found in 1791.” Id. at 1897-98. As Justice Barrett emphasized, “a test that
demands overly specific analogues” would present “serious problems,” including
“assum[ing] that founding-era legislatures maximally exercised their power to regulate”
and “forc[ing] 21st-century regulations to follow late 18th-century policy choices.” Id. at
1925 (Barrett, J., concurring). The Court instead explained that even “when a challenged
regulation does not precisely match its historical precursors,” a court should consider
whether the challenged regulation is consistent with the principles that underpin our
regulatory tradition” by ascertaining “whether the new law is ‘relevantly similar’ to laws
that our tradition is understood to permit.” Id. at 1898. “[A] ‘historical twin,’” the Court
reiterated, “is not required.” Id. at 1903 (quotation omitted).

        Applying these principles, Rahimi held that historical surety laws and going armed
laws were relevantly similar to Section 922(g)(8), notwithstanding differences between
the historical evidence and Section 922(g)(8). For example, unlike Section 922(g)(8),
which temporarily disarms someone deemed to be a credible threat to his intimate partner
or child, surety laws were not solely focused on domestic strife and did not always disarm
the offender, but rather burdened his right to bear arms by requiring him to post a bond or
demonstrate a need for his firearms. Rahimi, 144 S.Ct. at 1899-1901; see also id. at 1939-
40 (Thomas, J., dissenting) (“An accused arms-bearer could go on carrying without
criminal penalty so long as he posted money that would be forfeited if he breached the
peace or injured others.”) (internal punctuation and citations omitted); id. at 1910
(Gorsuch, J., concurring) (“Notably, the surety laws that inform today’s decision allowed
even an individual found to pose a threat to another to ‘obtain an exception if he needs
his arms for self-defense.’”). Similarly, unlike Section 922(g)(8), going armed laws were


                                             2
        Case: 22-60596       Document: 156        Page: 3   Date Filed: 07/29/2024




not directed at those found to be involved in domestic violence, only disarmed those
convicted of a crime due to their imprisonment, and did not apply after a civil
proceeding. Id. at 1900-01. Despite these differences, the Court found surety laws and
going armed laws were analogous enough to Section 922(g)(8).

2.     Rahimi Supports Section 922(g)(3)’s Constitutionality

       Section 922(g)(3) prohibits a person who is an unlawful user of controlled
substance or addicted to a controlled substance from possessing a firearm. The
prohibition lasts only as long as a person remains a regular user of controlled substances.
Congress adopted the prohibition to protect the public from the danger posed by firearms
being in the possession of illegal drug users. See, e.g., S. Rep. No. 1097, 1968 U.S. CODE
CONG. & AD. NEWS 2112, *2114, 1968 WL 4956 (Leg. Hist.) (the ready availability of
firearms for “narcotic addicts, mental defectives, … and others whose possession of
firearms is similarly contrary to the public interest … is a matter of serious national
concern”) (emphasis added). As the Supreme Court has concluded: “Congress’ intent in
enacting [18 U.S.C. § 922(g)] was to keep firearms out of the hands of presumptively
risky people.” Dickerson v. New Banner Inst., Inc., 460 U.S. 103, 113 n.6 (1983). See
also Abramski v. United States, 573 U.S. 169, 172 (2014).

        As the Government explained in its principal brief, Section 922(g)(3) is
constitutional because it is consistent the nation’s history and tradition of temporarily
prohibiting firearm possession by individuals who present a special danger of misuse if
armed. Rahimi recognized that legislatures may disarm those “who threaten physical
harm to others from misusing firearms.” 144 S.Ct. at 1896. As the Government has
explained, English common law and early American practice establish the Government’s
authority to disarm persons who would pose a threat to others’ safety if armed. See Gov’t
Br. at 39-45.

       This historically justified category includes armed drug users. “[D]rugs and guns
are a dangerous combination.” Smith v. United States, 508 U.S. 223, 240 (1993). Courts
have long recognized that drug use often correlates to violent crime. See Harmelin v.
Michigan, 501 U.S. 957, 1002 (1991) (Kennedy, J. concurring in part and concurring in
judgment). As Justice Kennedy explained:

       Quite apart from the pernicious effects on the individual who consumes
       illegal drugs, such drugs relate to crime in at least three ways: (1) A drug


                                              3
           Case: 22-60596     Document: 156        Page: 4     Date Filed: 07/29/2024




       user may commit crime because of drug-induced changes in physiological
       functions, cognitive ability, and mood; (2) A drug user may commit crime
       in order to obtain money to buy drugs; and (3) A violent crime may occur
       as part of the drug business or culture.

Id.; see also Florence v. Board of Chosen Freeholders, 566 U.S. 318, 332 (2012) (“The
use of drugs can embolden [individuals] in aggression.”).1 Furthermore, armed drug
users pose a danger to police officers. United States v. Carter, 750 F.3d 462, 469 (4th Cir.
2014) (recognizing that due to the illegal nature of their activities drug user and addicts
are more likely than ordinary citizens to have hostile run-ins with law enforcement that
would threaten the safety of officers when guns are involved); see also Michigan v.
Summers, 452 U.S. 692, 702 (1981) (“[T]he execution of a warrant to search for narcotics
is the kind of transaction that may give rise to sudden violence.”).

        The dangers of coupling drug use, including marijuana, with the possession of
firearms also are borne out by studies. Marijuana intoxication can lead to an altered
perception of time, short-term memory loss, impaired perception and motors skills,
paranoid thoughts, and even hallucinations. See National Academies of Sciences,
Engineering, and Medicine, The Health Effects of Cannabis and Cannabinoids: The
Current State of Evidence and Recommendations for Research 53 (2017) (Health
Effects). Moreover, according to the Center for Disease Control, people who use
marijuana are more likely to develop psychosis and long-lasting mental disorders,
including schizophrenia—which is even more likely when the use begins at an early age
and is frequent. Center for Disease Control, Cannabis and Mental Health, available at
https://www.cdc.gov/cannabis/health-effects/mental-health.html. Marijuana use is also
associated with depression, thoughts of suicide, suicide attempts, and suicide. Id.




       1
         See also Rosemond v. United States, 572 U.S. 65, 75 (2014); Muscarello v. United
States, 524 U.S. 125, 132 (1998); Smith, 508 U.S. at 240; see also Johnson v. United States, 576
U.S. 591, 642 (2015) (Alito, J., dissenting) (“Drugs and guns are never a safe combination.”);
Harmelin, 501 U.S. at 1003 (Kennedy, J., concurring in part and concurring in the judgment)
(“[There is a] direct nexus between illegal drugs and crimes of violence.”); Richards v.
Wisconsin, 520 U.S. 385, 391 n.2 (1997) (“This Court has encountered before the links between
drugs and violence.”); Carter, 750 F.3d at 470 (“[D]rug use, including marijuana use, frequently
coincides with violence.”); United States v. Patterson, 431 F.3d 832, 836 (5th Cir. 2005)
(“[U]nlawful users of controlled substances pose a risk to society if permitted to bear arms.”).


                                               4
        Case: 22-60596       Document: 156       Page: 5    Date Filed: 07/29/2024




       These findings, by courts and studies, are corroborated by real life stories of
people losing their lives in drug deals gone bad. Such examples include people being
killed during marijuana deals. See, e.g., Chicago Tribune, Whiting Man Convicted in
Drug Deal Slaying, available at https://www.chicagotribune.com/2024/05/04/gary-man-
convicted-in-drug-deal-slaying/ (discussing killing during marijuana deal); see also
KSTP, Man gets 10 year sentence for fatal shooting during marijuana deal in
Minneapolis, available at, https://kstp.com/kstp-news/local-news/man-gets-10-year-
sentence-for-fatal-shooting-during-marijuana-deal-in-minneapolis/; Ledger-Enquirer, ‘A
long time coming’: Columbus jury reaches verdict in murder trial over drug deal,
available at https://www.ledger-enquirer.com/news/local/crime/ article278164012.html.
Clearly, a person’s use of illegal drugs poses a higher risk of danger when armed.

        Two particular categories of historical regulations disarming those who present a
special danger of misuse bear an especially close similarity to Section 922(g)(3):
regulations disarming the intoxicated and the mentally ill. In both instances, the danger
arises from the distorted mental state of the person possessing the firearm.

        a. Laws addressing firearms possession by the intoxicated. The founding
generation recognized that those who regularly became intoxicated threatened the social
and political order. See, e.g., Benjamin Rush, An Inquiry into the Effects of Ardent Spirits
Upon the Human Body and Mind 6 (1812). They thus implemented various measures
restricting access to firearms by those likely to become intoxicated. See Act XII of 1655,
1655 Va. Laws 401, 401-02 (restricting gun use at drinking events); Ch. 1501, 5 Colonial
Laws of New York 244-46 (1894) (restricting gun use during the New Year’s holiday);
An Act for preventing Mischief being done in the town of Newport, or in any other Town
in this Government, 1731 R.I. Sess. Laws, pp. 240-41 (restricting gun use in taverns);
1844 R.I. Pub. Laws 503-16, § 1 (excluding “common drunkards” from the militia).
Early laws predominantly regulated the militia or firearm use in proximity to alcohol.
That focus was understandable; social norms at the founding “had an important
restraining effect on intemperance” and there thus was “little public outcry against
alcoholism.” Mark Edward Lender & James Kirby Martin, Drinking in America: A
History 14-16 (1987). As societal conditions and firearm technology changed, however,
states and territories began imposing criminal penalties on intoxicated members of the
public who carried, used, or received firearms. See Gov’t Br. at 34; see also, e.g., 1867
Kan. Sess. Laws 25; 1878 Miss. Laws 175-76; Mo. Rev. Stat. § 1274 (1879); 1883 Wis.
Sess. Laws 290; 1909 Idaho Sess. Laws 6. Such statutes were considered “in perfect
harmony with the constitution” even where state constitutions were understood to secure
an individual right to bear arms. State v. Shelby, 2 S.W. 468, 469 (Mo. 1886).

                                             5
           Case: 22-60596      Document: 156         Page: 6     Date Filed: 07/29/2024




        Thus, the history from the colonial era, the founding, and the nineteenth- and
early-twentieth centuries establishes an unbroken throughline of laws regulating the
combination of firearm use and intoxication. And, critically, nothing in pre-19th-century
practice suggests that legislatures were considered to lack authority to preclude the
intoxicated public from using firearms. Concluding otherwise would erroneously
“adopt[] a ‘use it or lose it’ view of legislative authority,” Rahimi, 144 S.Ct. at 1925
(Barrett, J., concurring), or limit today’s legislature because of “a distant generation’s
failure to consider that such a law might be necessary,” id. at 1905 (Sotomayor, J.,
concurring).

       b. Restrictions on the mentally ill. Regulations concerning the mentally ill
similarly reflect the legislature’s historic authority to restrict firearm possession by those
who pose a risk of impairment. In England, the Vagrancy Act of 1744 allowed justices of
the peace to lock up and seize the property of those “who by lunacy, . . . are furiously
mad, or are so far disordered in their senses that they may be dangerous.”2 See 17 Geo. 2,
c.5 (capitalization altered); Richard Moran, The Origin of Insanity as a Special Verdict:
The Trial for Treason of James Hadfield (1800), 19 Law & Soc’y Rev. 487, 509-10
(1985). And in colonial and Founding-era America, those afflicted with mental illnesses
“were generally treated as if they had been . . . stripped of all . . . their rights and
privileges.” Albert Deutsch, The Mentally Ill in America: A History of their Care and
Treatment from Colonial Times 41 (1949).

       Colonial America was more rural and dispersed than England, and “lacked large
urban areas and complex institutional arrangements characteristic of” England. Gerald N.
Grob, The Mad Among Us: A History of the Care of America’s Mentally Ill 5, 13-14
(1994). Some areas even lacked “the luxury of a jail in the early days.” Deutsch, supra,
at 41. Because the “proportionately small number of ‘distracted’ persons did not warrant
the creation of special facilities,” persons with mental illnesses initially “were cared for
on an ad hoc and informal basis either by the family or community.”3 Grob, supra, at 6.
Given these societal conditions, early “legislation usually concerned itself more with [the
mentally ill’s] property than their persons.” Deutsch, supra, at 53; see also Mary Ann

       2
         Solely for accuracy, when directly quoting historical and secondary source material, the
Government retains the use of outdated and in some cases discriminatory language used to
describe the mentally ill.
       3
           The first general hospital in America did not open until the 1750s (in Philadelphia) and
the first asylum dedicated to care of the mentally ill did not open until 1773 (in Williamsburg,
Virginia). Deutsch, supra, at 58-60, 66; see Grob, supra, at 18-20.


                                                 6
        Case: 22-60596        Document: 156        Page: 7   Date Filed: 07/29/2024




Jimenez, Changing Faces of Madness: Early American Attitudes and Treatment of the
Insane 51 (1987) (describing 1694 Massachusetts law which “empowered justices of the
peace to dispose of the estates of distracted persons and use the proceeds to support their
families”). By the end of the 18th century, multiple jurisdictions had enacted laws that
charged those appointed as guardians for mentally ill persons to “take care” of the person
and his “estates, both real and personal”—thus including any firearms the person
possessed—and provided that such property “shall be delivered[ ] and returned” to the
person if he is “restored to [his] right mind.” 1776-1789 N.H. Laws 235-237 (1776 law);
see also 1737 Mass. Laws. 9-10; 1780-1788 Mass. Laws 135-136 (1784 law); 1788 N.Y.
Laws 617; 1700-1797 Del. Laws 1055-1056 (1793 law); William Paterson, Laws of the
State of New-Jersey 125 (1800) (1794 law); 1799 Miss. Laws 35-38 (law of Mississippi
territory); see also 1804 Ohio Laws 163-165; 1805-1821 Mich. Territory Laws 376-378
(1818 law).

        The English tradition of restricting a mentally ill person’s liberty also carried into
18th-century America, albeit in a more decentralized way. “Local officials” typically
dealt with the mentally ill “on an ad hoc basis,” and the issue was not “perceived as a
social problem requiring formal public policies.” Grob, supra, at 15; accord Deutsch,
supra, at 41 (explaining that “individual cases were considered and decided on as they
arose”). Frequently, jurisdictions enacted laws aimed at particular individuals, which
specified the care (including confinement) that their family or the community was
charged with undertaking. See, e.g., Deutsch, supra, at 42-43 (citing examples, including
a 1676 Pennsylvania law directing that persons be hired “to build a little block-house at
Amesland” to confine a mentally-ill person and a 1689 Massachusetts law directing a
man to “build a little house . . . to secure his Sister good wife”); Grob, supra, at 15-16
(citing these and other examples).

       Statutes of general applicability did eventually emerge. Some colonies authorized
justices of the peace to “lock[ ] up” “lunatics” considered “dangerous to be permitted to
go abroad.” Henry Care, English Liberties, or the Free-Born Subject’s Inheritance 329
(6th ed. 1774). By around the time the Second Amendment was ratified, jurisdictions
had enacted laws—tracking the language of the English Vagrancy Act—permitting the
commitment of persons determined by justices of the peace, magistrates, or selectmen to
be “[l]unatics” or of “unsound mind.” See, e.g., 1769 Va. Acts 13; 2 William Littell, The
Statute Law of Kentucky 578 (1810) (1787 law); 1 Samuel Shepherd, Statutes at Large of
Virginia from October Session 1792, to December Session 1806, Inclusive 163 (1835)
(1792 law); 1798 Mass. Acts 813; 1 The Public Statute Laws of the State of Connecticut
386 (1808) (1793 law).

                                               7
        Case: 22-60596      Document: 156        Page: 8   Date Filed: 07/29/2024




        Given these well-established practices, no historical evidence suggests that anyone
in the Founding-era believed the Government lacked authority—consistent either with the
preexisting right to keep and bear arms or the Second Amendment—to specifically
disarm the mentally ill. And, as this Court has explained, greater restrictions on the
liberty and property of persons who were mentally ill made firearm-specific restrictions
unnecessary at the time. Beers v. Attorney General, 927 F.3d 150, 157 (3d Cir. 2019),
vacated on other grounds, 140 S.Ct. 2758 (2020). The absence of any Founding-era laws
specifically disarming such persons thus is readily explained by social and technological
factors that have nothing to do with the Second Amendment. It was not until the 19th
century that a “dramatic growth in population was accompanied by a proportionate
increase in the number of [mentally ill] persons,” which caused such persons to be “more
visible, and public concern about security increased” particularly in “densely populated
areas.” Grob, supra, at 24. Nor would the specific combination of mental illness and
firearms have posed the same threat in the 18th century that it did during subsequent
decades because 18th-century guns generally fired only one shot, often misfired, took a
long time to load, and could not be kept loaded for long periods. See Randolph Roth, Why
Guns Are and Are Not the Problem, in Jennifer Tucker et al., eds., A Right to Bear
Arms?: The Contested Role of History in Contemporary Debates on the Second
Amendment 117 (2019). Accordingly, the absence of 18th-century regulations
specifically addressing mental illness and firearm use does not reflect any doubt about
such measures’ constitutionality. The Supreme Court has dismissed as “bordering on the
frivolous” the argument that the Second Amendment protects “only those arms in
existence in the 18th century,” Heller, 554 U.S. at 582, and the notion that the
Amendment permits only those specific regulations that existed in the 18th century has
no more merit. Cf. McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 373 (1995)
(Scalia, J., dissenting) (“Quite obviously, not every restriction upon expression that did
not exist in 1791 or 1868 is ipso facto unconstitutional.”).

        Tellingly, as relevant societal conditions changed, so too did the nature and
specificity of mental-illness firearm regulations. As the 19th century wore on, several
states banned the sale of guns to the mentally ill. See 1881 Fla. Laws 87; 1883 Kan. Sess.
Laws 159; 1899 N.C. Pub. Laws 20-21; see also Sam Kimble, Revised Ordinances of the
City of Manhattan and Rules of the Council 49 (1887). In the 20th century, new
regulations on the delivery or sale of firearms were similarly extended to the mentally ill
as well as drug addicts. See, e.g., 1927 N.J. Laws 745; 1931 Pa. Laws 499; 1935 Ind.
Acts 161; 1935 S.D. Sess. Laws 356; 1935 Wash. Sess. Laws 601; 1936 Ala. Acts 52; 47
Stat. 650, 652 (1932).


                                             8
        Case: 22-60596       Document: 156        Page: 9   Date Filed: 07/29/2024




       In short, although regulations addressing firearm possession by the mentally ill
have evolved with societal and technological conditions, history confirms that
“longstanding prohibitions on the possession of firearms” by “the mentally ill,” Heller,
554 U.S. at 626, have a “well-established” historical tradition, Bruen, 142 S.Ct. at 2133.

                                            ***

        Accordingly, both historical regulations disarming the intoxicated and those
disarming the mentally ill justify Section 922(g)(3). Although Section 922(g)(3) is not
“identical” to either historical tradition, as Rahimi reiterated, it “does not need to be.”
144 S.Ct. at 1901. Like its historical counterparts, Section 922(g)(3) applies to
individuals “found to threaten the physical safety” of others because of their intoxication
or impairment. Id. And Section 922(g)(3)’s prohibition is particularly narrow because it
is a temporary restriction on firearm possession. In finding that Section 922(g)(8) itself
was “sufficiently similar” to historical precursors, Rahimi emphasized that certain similar
historical precursors were of “limited duration.” Id. at 1902. While Section 922(g)(3)
sweeps more broadly than regulations that were imposed on those who were intoxicated,
at the time of the founding, consumption of alcohol was largely legal, while the conduct
of drug users targeted by Section 922(g)(3), particularly as charged in Daniels’s case,
involves illegal activity. This is a key difference. This difference points to the additional
principle that the Government may disarm those whose illegal and/or dangerous conduct
demonstrates that their possession of firearms pose a heightened risk of danger.
Historical analogues for such regulations include those set forth in the Government’s
brief (see Gov’t Br. at 39-45) and also include the surety laws and going armed laws
discussed in Rahimi.

3.     Daniels is Inconsistent with the Supreme Court’s Rahimi Opinion

        In Daniels, this Court correctly determined that widespread unlawful drug use was
not an issue of major public concern at the time of the founding. Additionally, the Court
properly held that the Government need only identify “relevantly similar” analogues to
justify Section 922(g)(3). However, this Court’s decision in Daniels is inconsistent with
Rahimi for four reasons.

       First, this Court considered each of the Government’s proffered analogues
separately and reduced the inquiry to a search for a specific historical analogue. This
Court essentially examined the Government’s historical analogues, determined which


                                              9
       Case: 22-60596       Document: 156         Page: 10   Date Filed: 07/29/2024




specific analogue appeared to regulate conduct most like Section 922(g)(3), and
discounted the remaining analogues. However, Rahimi clarified that courts should
examine the historical analogues together to identify the principle they collectively
represent and then determine whether the statute at issue is consistent with that principle.
Thus, the issue is not whether an unlawful user of a controlled substance is most like
someone who drinks alcohol, someone who suffers from mental illness, or lawbreakers or
otherwise dangerous persons who were disarmed at the time of the founding. Instead this
Court should determine whether this nation has historically disarmed those whose mental
state and/or dangerous and illegal conduct demonstrates that they pose a high risk of
danger if armed. The Government submits that the nation does, and therefore, Section
922(g)(3) is constitutional.

         Second, this Court gave too much weight to the lack of historical laws prohibiting
the possession of firearms by intoxicated persons at the founding. This Court’s analysis,
in contradiction to Justice Barrett’s concurrence in Rahimi, 144 S.Ct. at 1925, assumed
that founding-era legislatures maximally exercised their legislative power. Daniels, 77
F.4th at 345-48. In making that assumption, this Court endorsed a “use it or lose it”
view and sought a historical mold. Instead, this Court should reexamine Daniels and
determine whether the proffered “historical regulations reveal a principle, not a mold.”
Rahimi, 144 S.Ct. at 1925 (Barrett, J. concurring). The dangers of this assumption are
compounded by the fact that the opposite ledger is completely void of any cases declaring
regulations on the possession of firearms by intoxicated persons unconstitutional. Further
still, in light of this Court’s implied determination that pre-ratification history of the
regulation of firearms by intoxicated persons was elusive and/or inconclusive, the post-
ratification history of regulating firearms possession by intoxicated person and drug users
should have been treated with special importance. Rahimi, 144 S.Ct. at 1916 (Kavanaugh,
J. concurring) (“When the text is vague and the pre-ratification history is elusive or
inconclusive, post-ratification history becomes especially important.”).

        Third, this Court discounted historical analogues based any individual differences
at the “how” and the “why” step of the analysis. For example, the Court discounted
founding era restrictions concerning shooting guns at drinking and later restrictions on
those who were intoxicated possessing firearms in connection with militia duty because
the “why” of the regulations did not match Section 922(g)(3). However, Rahimi,
instructs that the “how” and even the “why” of prior regulations does not have to match
on all fours. In Rahimi, the Court explicitly relied on going armed laws to justify Section
922(g)(8) when such laws did not deal solely with the risk of domestic violence and/or


                                             10
       Case: 22-60596       Document: 156        Page: 11   Date Filed: 07/29/2024




strife, and only disarmed offenders after a criminal conviction. Nevertheless, the Court
found them sufficiently similar to Section 922(g)(8) because, at a general level, they were
used to disarm those who were found by a court to be a credible threat. 144 S.Ct. at 1908-
09.

        Fourth, this Court’s decision appears to be influenced by Section 922(g)(1)’s
prohibition on felon’s possessing firearms and implies that Section 922(g)(3) results in
permanent disarmament due to past drug use. “By nature of his [Section] 922(g)(3)
felony, Daniels is barred for life from possessing a firearm. Daniels, 77 F.4th 340. “In
short, our history and tradition may support some limits on an intoxicated person’s right
to carry a weapon, but it does not justify disarming a sober citizen based exclusively on
his past drug usage.” Id. at 340 (emphasis added). However, much like Section 922(g)(8)
only disarms individuals while they are subject to a domestic violence restraining order,
Section 922(g)(3), as charged in this case, only disarms those who a jury finds were
unlawful drug users at the time they possessed the firearm. In fact, the jurors were
explicitly instructed that, in order to convict Daniels, they had to find that he was an
unlawful user of a controlled substance at the time he possessed the firearm, and that the
defendant “must have been actively engag[ed] in the use of a controlled substance during
the time he possessed the firearm. ROA.270-71. Thus, Section 922(g)(3) is not a
permanent ban on firearm possession, and it is not based upon past drug use. Instead,
similar to the statute at issue in Rahimi, Section 922(g)(3) it temporarily bans unlawful
users of controlled substances from possessing firearms so long as they remain unlawful
users.

       Accordingly, in light of Rahimi, the proffered historical analogues demonstrate
that Section 922(g)(3) is constitutional. Application of the Rahimi Court’s rationale to
the proffered historical analogues demonstrates this point. First, historical regulations
prohibited intoxicated persons from using and carrying firearms. Second, historically the
mentally impaired were frequently subject to detention and disarmament. Third, this
nation has a history and tradition of categorically disarming those whose possession of
firearms poses a heightened risk of danger due to their illegal and/or dangerous conduct,
as evidenced by Rahimi’s own discussion of surety and going armed laws. Therefore,
this Court should find that Section 922(g)(3) passes constitutional muster.




                                            11
        Case: 22-60596        Document: 156          Page: 12   Date Filed: 07/29/2024




4.     Section 922(g)(3) is Constitutional as Applied to Daniels, an Admitted
       Regular Marijuana User Who Committed Misconduct with Guns

       The constitutionality of Section 922(g)(3) is evident when applied to Daniels.
Daniels was not charged with being addicted to a controlled substance; he was charged
with being an unlawful user of a controlled substance at the time that he possessed the
weapon. Accordingly, the jury was instructed and found beyond a reasonable doubt that
Daniels actively engaged in the use of a controlled substance during the time he
possessed the firearm. ROA.270-71.4 Thus, Daniel’s own illegal conduct in connection
with his possession of the firearm posed a risk of dangers to others.

       Further, Daniels’s conduct demonstrates the impact of marijuana use on his
decision making. After all, Daniels admitted to law enforcement officers that he used
marijuana 14 days out of the month and first began using marijuana in high school.
ROA.201. He also admitted to the probation officer that at age 18, he began using
marijuana “every other day up to the day before his arrest.” ROA.483 (PSR ¶ 61). Thus,
Daniel’s admitted continuous use of marijuana would have covered August 26, 2020,
when he admittedly fired three shots at a juvenile’s vehicle, allegedly in self-defense,
ROA.478-79 (PSR ¶ 43) and October 24, 2021, when Daniels broke his girlfriend’s car
window after an altercation, ROA.479 (PSR ¶ 45).5 According to Daniels, part of the
altercation occurred after he entered their residence to retrieve his clothes and marijuana.
ROA.479 (PSR ¶ 45). Daniels was on bond at the time of his gun offense for a simple
domestic violence charge due to this altercation and as part of his bail, he prohibited from
using alcohol, illegal drugs, or drugs that were not prescribed to him. ROA.474 (PSR
¶ 17). Daniels’s marijuana use also included the time between March 20, 2022, when he
was first encountered by officers with the guns and April of 2022, when he was
ultimately arrested. Finally, on the day of his arrest, officers observed burned marijuana
cigarettes and smelled burnt marijuana, all of which demonstrates he did possess firearms

       4
        The jury was instructed that the law did not “require that he used the controlled
substance at the precise time he possessed the firearm, […] but rather that the unlawful use has
occurred recently enough to indicate that the individual is actively engaged in such conduct.”
ROA.271
       5
         The date of arrest referenced in the PSR is October 24, 2021, ROA.479 (PSR ¶ 45). The
summary of the incident in the PSR indicates that the incident occurred on October 24, 2018.
ROA.479 (¶ 45). However, based on a comparison of the incident with Daniels’s own sequence
of acquiring one of his weapons from his girlfriend in 2021 and then moving out of her
residence, it appears that this domestic violence charge originated in 2021. ROA.474 (PSR
¶¶ 16-7).


                                                12
       Case: 22-60596      Document: 156         Page: 13   Date Filed: 07/29/2024




while intoxicated by marijuana. Thus, Daniels’s use of marijuana in connection with his
possession of firearms demonstrates that he did pose a danger and could be disarmed.

      5.     Oral Argument

       Given the procedural history of this case and the impact of Rahimi on this Court’s
prior decision, oral argument would benefit the Court and the parties.

                                                  Respectfully,

                                                  TODD W. GEE
                                                  United States Attorney for the
                                                  Southern District of Mississippi

                                                  GAINES H. CLEVELAND
                                                  Assistant U.S. Attorney

                                         By:       /s/ Jonathan D. Buckner
cc:   Kymberly Gore                               JONATHAN D. BUCKNER
      Leilani Tynes                               Assistant U.S. Attorney
      Assistant Federal Defender s




                                            13
